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                                                                                United States Bankruptcy Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                        UNITED STATES BANKRUPTCY COURT                             September 20, 2022
                          SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                HOUSTON DIVISION

In re:                                          §
                                                §
FREE SPEECH SYSTEMS, LLC,                       §          Case No. 22—60043
                                                §
                               DEBTOR.          §
                                                §          Chapter 11 (Subchapter V)



           ORDER EXPANDING THE SUBCHAPTER V TRUSTEE’S DUTIES
          PURSUANT TO 11 U.S.C. § 1183(b)(2) OF THE BANKRUPTCY CODE

         For the reasons stated on the record at the September 20, 2022 hearing, the Subchapter V

Trustee’s duties in this bankruptcy case are expanded under 11 U.S.C. § 1183(b)(2).

The Subchapter V Trustee is directed to investigate the Debtor and file a report

pursuant to 11 U.S.C. §§ 1106(a)(3) & (4) as soon as practicable.




          August 02,
          September  2019
                    20, 2022
